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28                                                            1
                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
     CASE NOS. 3:21-MD-02981-JD; 3:20-CV-05671-JD; 3:20-CV-05761-JD; 3:20-CV-05792-JD; 3:21-CV-05227-JD; 3:22-CV-02746-JD
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 1                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 2                                     SAN FRANCISCO DIVISION
 3    IN RE GOOGLE PLAY STORE                                     Case No. 3:21-md-02981-JD
      ANTITRUST LITIGATION
 4
      THIS DOCUMENT RELATES TO:                                   JOINT STATEMENT REGARDING
 5                                                                SEPTEMBER 7, 2023 PRETRIAL
      Epic Games Inc. v. Google LLC et al.,                       CONFERENCE
 6    Case No. 3:20-cv-05671-JD
 7    In re Google Play Consumer Antitrust
      Litigation, Case No. 3:20-cv-05761-JD
 8
      State of Utah et al. v. Google LLC et al.,
 9    Case No. 3:21-cv-05227-JD
10    Match Group, LLC et al. v. Google LLC et
      al., Case No. 3:22-cv-02746-JD
11

12
          Pursuant to the Court’s Minute Entry for the August 3, 2023 Motion Hearing and Trial
13
     Planning Conference (Dkt. No. 571, 3:21-md-02981-JD (“MDL”)) dated August 4, 2023, the
14
     parties in the above-captioned MDL (the “Parties”) by and through their undersigned counsel,
15
     submit this Joint Statement regarding trial planning in advance of the September 7, 2023 pretrial
16
     conference.
17
           I.          Further Proceedings Regarding the Consumer Class
18
                On August 28, 2023, the Court granted Google’s motion to exclude the injury and
19
     damages opinions of Dr. Hal Singer (see MDL ECF 588) and issued an order indicating that its
20
     “order granting certification should be vacated,” noting that it lacked jurisdiction to do so while
21
     Google’s appeal of the certification order was pending in the Court of Appeals, and directing the
22
     parties “to meet and confer, and be prepared to discuss propopsed next steps with the Court at the
23
     September 7, 2023 status conference.” (MDL ECF 589 at 1).
24
                On August 31, 2023, the Ninth Circuit issued an order granting a limited remand stating:
25
     “Given the district court’s indication that it would reconsider class certification, the Court grants
26
     the motion to vacate the scheduled oral argument in the appeal and to remand the case to the
27

28                                                            2
                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
     CASE NOS. 3:21-MD-02981-JD; 3:20-CV-05671-JD; 3:20-CV-05761-JD; 3:20-CV-05792-JD; 3:21-CV-05227-JD; 3:22-CV-02746-JD
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 1
     district for further proceedings,” while retaining jurisdiction over the appeal and directing the
 2
     parties to notify the Court “when the district court has issued an order pertaining to the class
 3
     certification.” Below the parties set forth their positions regarding the implications of these
 4
     developments.
 5
             Consumer Plaintiffs’ Position: Consumers are considering “next steps” as instructed by
 6
     the Court, including seeking leave to file a renewed class certification motion supported by
 7
     amended expert disclosures. Consumers would like to be heard on these next steps, including
 8
     discussion of a briefing schedule for a potential motion addressing these issues.
 9
             Protection of the interests of the 21 million class members warrants further proceedings
10
     on class certification. “[D]ecertification at a late stage is disfavored if it ‘adversely and unfairly
11
     prejudices class members, who may be unable to protect their own interests.” Newberg and
12
     Rubenstein on Class Actions § 7.37 (6th ed.) (cleaned up). As the court noted in its order,
13
     Google introduced merits expert testimony from a new expert after abandoning its class
14
     certification expert who “did not challenge the fundamental soundness of Dr. Singer’s approach
15
     in light of the economic literature.” MDL Dkt. 588 at 6. Even Dr. Leonard did not challenge Dr.
16
     Singer’s methodology for conducting his regression analysis in his merits report, but introduced
17
     new economic and quantitative analysis doing so on August 14, 2023. See MDL Dkt. 578.1
18
     ¶ 16. Protection of the interests of the class warrants further proceedings before the drastic
19
     remedy of decertification on the eve of trial.
20
             Further proceedings on class certification should not impact the November 6 trial.
21
     Because of the pending Ninth Circuit appeal, the parties had already contemplated that the trial
22
     would continue without including the Class claims. That should not change now.
23
             Google’s Position: Consistent with the Ninth Circuit’s August 31, 2023 order granting
24
     limited remand and the Court’s August 28, 2023 Order, “the order granting certification should
25
     be vacated.” ECF No. 589.
26

27

28                                                            3
                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
     CASE NOS. 3:21-MD-02981-JD; 3:20-CV-05671-JD; 3:20-CV-05761-JD; 3:20-CV-05792-JD; 3:21-CV-05227-JD; 3:22-CV-02746-JD
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 1
             Consumer Plaintiffs state that they are considering “next steps” regarding class
 2
     certification once the Court vacates its class certification order, but they have not yet identified
 3
     those steps.
 4
             In any event, there should be no further proceedings regarding class certification at this
 5
     late stage. Consumer Plaintiffs’ expert, Dr. Singer, disclosed three different injury and damage
 6
     models. And Consumer Plaintiffs had a full and fair opportunity to defend these three models
 7
     through reports, depositions, Daubert briefing, the expert hot tub, and the supplemental
 8
     declarations requested by the Court. Consumer Plaintiffs should not be permitted to try and
 9
     recertify a class by disclosing a new, fourth injury and damages model at this stage of the
10
     proceedings, after the expert disclosure deadlines and after the Court has already entertained the
11
     parties’ Daubert and dispositive motions.
12
             Despite Consumer Plaintiffs position that decertification is a “disfavored” step, it is well
13
     recognized that a district court remains free to rescind a class certification order “in the light of
14
     subsequent developments in the litigation.” Brown v. Wal-Mart Store, Inc., No. 09-CV-03339-
15
     EJD, 2018 WL 1993434, at *2 (N.D. Cal. Apr. 27, 2018) (quoting Gen. Tel. Co. of Sw. v.
16
     Falcon, 457 U.S. 147, 160 (1982)). Indeed, the district court has an ongoing “duty of monitoring
17
     class decisions in light of the evidentiary development of the case.” Newberg and Rubenstein on
18
     Class Actions § 7.37 (6th ed.) (cleaned up).
19
             Nor have Consumer Plaintiffs explained why vacatur of the certification order would, in
20
     this case, “prejudice[] class members, who may be unable to protect their own interests.” The
21
     Court denied Consumer Plaintiffs’ motion for class notice; accordingly putative class members
22
     were not told that they are part of a class. And decertification in this case protects the interests of
23
     the putative class. Otherwise, these putative class members would be bound to the Court's
24
     decision excluding Dr. Singer’s testimony, and Google would be entitled to summary judgment
25
     (or directed verdict) against these class members on the issues of injury and damages—issues on
26
     which the Consumer Plaintiffs no longer have admissible evidence.
27

28                                                            4
                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
     CASE NOS. 3:21-MD-02981-JD; 3:20-CV-05671-JD; 3:20-CV-05761-JD; 3:20-CV-05792-JD; 3:21-CV-05227-JD; 3:22-CV-02746-JD
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 1
                Consumer Plaintiffs’ suggestion that there should be further proceedings regarding class
 2
     certification will also jeopardize the Court’s ability to hold a single trial of all claims on
 3
     November 6. If further proceedings related to class certification are entertained over Google’s
 4
     objection, Google would object to a trial of any claims in this MDL proceeding until any
 5
     remaining proposals by Consumer have been addressed such that all claims can be tried in a
 6
     single trial.
 7
          II.          Status of Individual Plaintiffs
 8
           Four individual consumer plaintiffs whom the Court ruled are not class members—Mary
 9
     Carr, Daniel Egerter, Zack Palmer, and Serina Moglia—still have claims pending. Additionally,
10
     the two individuals whom the Court appointed as class representatives (Matthew Atkinson and
11
     Alex Iwamoto) also have claims pending. The parties’ positions with respect to further
12
     proceedings involving the six individual consumer plaintiffs are set out below:
13
           Consumer Plaintiffs’ Position: Consumer Plaintiffs intend to present the claims of all
14
     remaining individual plaintiffs who are not class members—Mary Carr, Daniel Egerter, Zack
15
     Palmer, and Serina Moglia—at the trial on November 6. Whether Consumer Plaintiffs present
16
     the claims of the appointed named class representatives, Matthew Atkinson and Alex Iwamoto,
17
     depends upon the Court’s resolution of the class certification issues identified above. In
18
     particular, if the Court decertifies the class and denies any requests to recertify a class, then the
19
     current class representatives, Matthew Atkinson and Alex Iwamoto, will seek to participate in
20
     the trial as well. Otherwise, they will remain as class representatives in further class
21
     proceedings.
22
           If any of the individual plaintiffs choose not to opt out of the parens patriae action when
23
     notice is issued, Consumer Plaintiffs are prepared to file dismissal motions under Rule 41 and
24
     further address any issues Google would like to raise at that time.
25
                Google’s Position: With the exclusion of Dr. Singer, there is no evidentiary basis for
26
     any of the individual plaintiffs to present a damages claim at trial. But in any case, with just two
27

28                                                             5
                             JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
      CASE NOS. 3:21-MD-02981-JD; 3:20-CV-05671-JD; 3:20-CV-05761-JD; 3:20-CV-05792-JD; 3:21-CV-05227-JD; 3:22-CV-02746-JD
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 1
     months before trial, Consumer Plaintiffs still cannot say who will be proceeding to trial and what
 2
     claims for relief they will be pursuing. According to Consumer Plaintiffs, now, six individuals
 3
     will proceed to trial, unless four of them decide not to;1 the four Consumer Plaintiffs whom the
 4
     Court held were not part of the class still have not said whether they will be seeking to recover
 5
     through the parens patriae claims of the Plaintiff States or whether they will proceed with their
 6
     own claims.
 7
                 There are only two months before trial. Google deserves fair notice now of which
 8
     Consumer Plaintiffs will be pursuing which claims at trial so that it can prepare for trial without
 9
     further unfair prejudice. It is time for Plaintiffs to make a once-and-for-all decision about which
10
     claims are proceeding on November 6. But the right result is for the Court to require that they
11
     proceed with all or none of the individual claims. Plaintiffs should not be able to pursue multiple
12
     lawsuits for years and then drop their weakest claims for relief on the eve of trial without
13
     consequence. That would encourage the filing of duplicative lawsuits at a useless cost to the
14
     judicial system and defendants. But that result is precisely what Plaintiffs are attempting to leave
15
     possible. Counsel for the consumers seek the right to selectively prosecute some, but not all, of
16
     the individual claims they have pursued for years in this Court, and ask that those individuals
17
     whose claims will be abandoned–likely due to an unfavorable discovery record–still be permitted
18
     to fully recover should their State Attorney General recover in parens patriae. The Court should
19
     not permit this result.
20
                 To the extent that individual plaintiffs intend to seek injunctive relief at trial for their
21
     individual claims while also reserving the right to recover through relief obtained by the Plaintiff
22
     States, Google further objects that this would be improper claim-splitting. Plaintiffs cannot seek
23
     one form of relief through a lawsuit of their own while pursuing another form of relief based on
24

25
     1
       Indeed, Consumer Plaintiffs have already revised their position regarding which individual plaintiffs will be
26   pursuing their claims at trial multiple times during meet and confer communications. First, they took the position
     that only individual plaintiff Mary Carr, who the Court held was not part of the class, would proceed to trial. Then
27   they asserted that Ms. Carr and the two class representatives would proceed to trial. And now they are asserting that
     all six individual consumer plaintiffs will proceed to trial–maybe.
28                                                                6
                                JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
         CASE NOS. 3:21-MD-02981-JD; 3:20-CV-05671-JD; 3:20-CV-05761-JD; 3:20-CV-05792-JD; 3:21-CV-05227-JD; 3:22-CV-02746-JD
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 1
     the same causes of action regarding the same conduct in another lawsuit. If individual Plaintiffs
 2
     want to bring their own injunctive relief claim to trial, they must face the consequences of their
 3
     damages claim failing on its merits and cannot recover damages through the Plaintiff States.
 4
         III.          Cameras in the Courtroom Pilot Project
 5
                Plaintiffs’ Position: All Plaintiffs consent to participate in the Cameras in the
 6
     Courtroom Pilot Project for the trial. Alternatively, given Google’s refusal to participate,
 7
     Plaintiffs request that the Court provide the public with an audio feed of the trial. Google objects
 8
     to both a video and audio feed on the grounds that offering an audio feed “would risk disclosure”
 9
     of “sensitive competitive evidence that has been designated as highly confidential by non-parties
10
     and the parties to the litigation” and “introduce unnecessary disruption.”
11
                Google’s position that an audio feed “would risk disclosure” of sensitive information is
12
     irreconcilable with its recognition that “[t]he trial in this litigation will occur in an open
13
     courtroom and be accessible to the general public.” If Google believes, as it suggests it does,
14
     that the courtroom will be open to the public with few exceptions, offering the public a second
15
     access point to the trial (e.g., an audio feed) should be of no concern. Further, there is no risk
16
     that an audio feed would increase the likelihood that sensitive information will be disclosed to
17
     the public. Plaintiffs understand that the Court is not permitted to broadcast the proceedings in
18
     real time over Google’s objection (see Aug. 3, 2023 Hr’g Tr. 73:2-7) and therefore request a
19
     delayed audio feed of the public portions of the trial. In the unlikely event that confidential
20
     information is revealed in public session, there will still be an opportunity for the parties to
21
     resolve any legitimate remaining confidentiality concerns prior to the release of the audio.
22
                Google provides no support for its second rationale for not wanting an audio feed of the
23
     trial: that it would “introduce unnecessary disruption.” As the Court explained at the
24
     August 3, 2023 hearing, having cameras in the courtroom is unobstructive. (Aug. 3, 2023 Hr’g
25
     Tr. 74:2-5.) “[Y]ou don’t even see them . . . You just forget about it.” (Id.) Using microphones,
26
     which are already in the courtroom, would be even less of an instrusion. This was true in Epic
27

28                                                            7
                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
     CASE NOS. 3:21-MD-02981-JD; 3:20-CV-05671-JD; 3:20-CV-05761-JD; 3:20-CV-05792-JD; 3:21-CV-05227-JD; 3:22-CV-02746-JD
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 1
     Games, Inc. v. Apple Inc., No. 20-cv-05640-YGR, where almost the entire trial was available via
 2
     a live audio stream.2
 3
                 As this Court stated in another recent antitrust trial, “[t]his is a public courtroom.” In re
 4
     Capacitors Antitrust Litigation, No. 14-3264-JD, Dkt. 2562, Feb. 13, 2020 Hr’g Tr. at 51:10-12.
 5
     Indeed, the Court has acknowledged that this case is of “great interest to a lot of people.”
 6
     (Aug. 3, 2023 Hr’g Tr. 73:21-22.) Making these proceedings available to the public through an
 7
     audio feed would increase public access beyond the limited number of people able to attend in
 8
     person. Given this public interest, and because Google has not identified legitimate
 9
     confidentiality or disruption concerns, Google’s position should be rejected.
10
                 Google’s Position: Google declines to participate in the Cameras in the Courtroom Pilot
11
     Project. This trial will contain sensitive competitive evidence that has been designated as highly
12
     confidential by non-parties and the parties to the litigation. The Cameras in the Courtroom Pilot
13
     Program would risk disclosure of highly confidential competitive information and introduce
14
     unnecessary disruption to the pleadings.
15
                 Google also declines to participate in a program that would enable an audio feed of the
16
     trial, whether live-streamed or delayed, as Plaintiffs suggest. 3 The trial in this litigation will
17
     occur in an open courtroom and be accessible to the general public. The audio feed of the trial in
18
     Epic Games, Inc. v. Apple Inc., No. 20-cv-05640-YGR, a bench trial, was ordered because the
19
     courtroom was otherwise closed to the public due to the COVID-19 pandemic. Plaintiffs have
20
     not identified any such extraordinary circumstances that would warrant the addition of an audio-
21
     feed here, when this trial will be already open to the general public. Contrary to Plaintiffs’
22
     2
23     Google is also wrong to suggest there needs to be “extraordinary circumstances” such as the COVID pandemic for
     this Court to order an audio stream. The fact is that COVID expanded public access to judicial proceedings in a
24   variety of ways, such as the holding of routine conferences through publicly available Zoom webinars. In any event,
     the significant public interest in this matter is a special circumstance warranting expanded public access.
     3
25     Google notes that the Northern District of California was selected for an Audio Streaming Pilot Program, but that
     program (1) ended in March 31, 2023, (2) still required consent of both parties, and (3) specifically excluded any
26   civil proceeding involving live witness testimony; sealed, confidential, or classified materials; or jurors or potential
     jurors, including voir dire and trial. See https://www.uscourts.gov/about-federal-courts/judicial-
27   administration/audio-streaming-pilot. As these restrictions reveal, an audio feed of the trial here would be
     inappropriate.
28                                                                  8
                                JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
         CASE NOS. 3:21-MD-02981-JD; 3:20-CV-05671-JD; 3:20-CV-05761-JD; 3:20-CV-05792-JD; 3:21-CV-05227-JD; 3:22-CV-02746-JD
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 1
     suggestion, Google does not expect the courtroom to be closed to the public (except when the
 2
     Court determines confidential information will be discussed).
 3
         IV.          Jury Questionnaires
 4
               The parties agree that including case-specific questions would be useful. The parties
 5
     further agree that the COVID-vaccination questions (i.e., “Are you fully vaccinated for COVID-
 6
     19 (one dose of Johnson & Johnson or two doses of Moderna or Pfizer) and have you received a
 7
     booster?”) should remain in the jury questionnaire.
 8
               Google’s Position: Google’s position is that only those prospective jurors who are fully
 9
     vaccinated against COVID-19 should be seated as members of the jury.
10
               Plaintiffs’ Position: Plaintiffs’ position is that only jurors who have answered “Yes, fully
11
     vaccinated. No booster” or “Yes, fully vaccinated with booster” should be seated as members of
12
     the jury.
13
          V.          Daily Trial Schedule
14
               The parties request that trial be held from 9 a.m. to 2 p.m. (with no lunch break) each trial
15
     day, and to hold trial every other Friday, as the Court is available. With the Court’s permission,
16
     the parties would like to jointly provide the jury with snacks, the costs for which the parties will
17
     split evenly.
18
         VI.          Expert Disclosures
19
               Google requests that the Court compel Plaintiffs to comply with the Court’s February 1,
20
     2023 and April 10, 2023 orders and provide to Google on a coordinated basis their revised list of
21
     experts and each expert's area of testimony by September 21, 2023.
22
               Plaintiffs request that the Court deny Google’s request, as Plaintiffs have already fully
23
     complied with the Court’s orders pertaining to expert disclosures.
24
               Google’s Position: Seven months ago, the Court ordered Plaintiffs to provide Google
25
     with a streamlined list of experts to avoid duplication. MDL Dkt. 440 at 2. Plaintiffs still have
26
     not complied with the Court’s order.
27

28                                                            9
                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
     CASE NOS. 3:21-MD-02981-JD; 3:20-CV-05671-JD; 3:20-CV-05761-JD; 3:20-CV-05792-JD; 3:21-CV-05227-JD; 3:22-CV-02746-JD
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 1
             At a January 31, 2023 hearing, the Court explained that “there’s a core of opinions about
 2
     the market, about exclusionary conduct, about barriers to entry, about all those things that there
 3
     should be one person speaking on” and instructed Plaintiffs to “trim down” their list of experts.
 4
     Jan. 31, 2023 Hr’g. Tr. at 302:25-303:2. On February 1, 2023, the Court ordered Plaintiffs to
 5
     “confer on coordinating their experts so that the plaintiffs as a group will present one expert for
 6
     each common issue. Individual issues may be addressed by separate experts.” Dkt. No. 440 at 2
 7
     (emphasis added). The Court ordered Plaintiffs to “provide Google with their revised list of
 8
     experts.” In a subsequent order, the Court ordered Plaintiffs to “provide to Google on a
 9
     coordinated basis their revised list of experts and each expert's area of testimony by April 7,
10
     2023.” Dkt. No. 456.
11
             With Google’s agreement to an extension, Plaintiffs served an expert disclosure on April
12
     10, 2023. That disclosure did not comply with the Court’s orders. It includes five different
13
     economists and two different “technology and security” experts, and it designates multiple
14
     experts to testify about the same matter. For example, at the January 31, hearing, Plaintiffs
15
     assured the Court that they “are not going to have four different experts reciting their opinions
16
     which are all the same or different about market definition.” Jan. 31, 2023 Hr’g. Tr. at 303:8-10.
17
     However, Plaintiffs’ current expert disclosure designates four different economists to testify
18
     about Google’s alleged market power in a proposed market for Android app distribution.
19
     Plaintiffs pointedly do not deny that their disclosures indicate that multiple experts would testify
20
     regarding the same issues, contrary to the Court’s order back in February “that the plaintiffs as a
21
     group will present one expert for each common issue.” Dkt. No. 440 at 2. Google would be
22
     pleased to submit Plaintiffs’ disclosure to the Court.
23
             Plaintiffs’ suggestion that Google has never asked Plaintiffs for more specificity is simply
24
     false. In a May 5, 2023 letter, Google objected that Plaintiffs’ disclosure did not comply with the
25
     Court’s orders and provided Plaintiffs with a series of questions seeking to clarify why multiple
26
     experts’ testimony regarding the same issue would not overlap. Plaintiffs never answered these
27

28                                                            10
                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1
     questions. Instead, Plaintiffs responded with a May 12, 2023 letter assuring Google of “their
 2
     willingness to provide a revised Expert Disclosure once the Court resolves Google’s request to
 3
     exclude the States and individual consumers from the November trial.” Plaintiffs now seem to
 4
     have reneged on that offer, refusing to provide any revised disclosure. This reveals that
 5
     Plaintiffs’ complaints about uncertainty over the trial structure were just stonewalling. The
 6
     Court should not reward that gamesmanship. It is not fair for Plaintiffs to say that it is too late to
 7
     comply with the Court’s order when they assured Google in writing that they would comply with
 8
     the order at a later time.
 9
             Plaintiffs are incorrect that Google has disclosed duplicative experts. Plaintiffs have
10
     disclosed multiple experts on (1) market definition, (2) market power, (3) exclusionary conduct
11
     and anticompetitive effects and (4) computer security. Google disclosed only one expert on each
12
     of those issues last November. The fact that some of these experts may opine on some of the
13
     same underlying facts does not mean that they are duplicative.
14
             With just two months before trial, Plaintiffs must comply with the Court’s orders and
15
     serve a disclosure that identifies which expert will testify regarding which topic, without
16
     duplication. Google needs that information to have a fair opportunity to prepare for trial.
17
     Google therefore respectfully requests that the Court order Plaintiffs to provide a disclosure by
18
     September 21, 2023 that identifies which expert will testify regarding each of the following
19
     topics: (1) market definition, (2) market and/or monopoly power, (3) competitive effects, and (4)
20
     security and technical issues. To the extent that Plaintiffs are permitted to disclose more than
21
     one expert on each of these issues, their disclosure should explain why the experts’ testimony on
22
     that issue will not overlap.
23
             Plaintiffs’ Position: Plaintiffs have fully complied with the Court’s orders pertaining to
24
     expert disclosures. The Court’s January 31, 2023 minute order instructed Plaintiffs to “provide
25
     Google with their revised list of experts so Google may consider which, if any, of the experts
26
     Google will attempt to exclude from trial.” MDL Dkt. 440 at 2. The Court’s February 17, 2023
27

28                                                            11
                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1
     minute order instructed Plaintiffs “to provide to Google on a coordinated basis their revised list
 2
     of experts and each expert’s area of testimony.” MDL Dkt. 456. On April 10, 2023, Plaintiffs
 3
     provided Google with the information required by the Court’s orders.
 4
              Specifically, Plaintiffs served a disclosure that eliminated some areas of complete
 5
     duplication and specified other areas where experts might give non-duplicative testimony on the
 6
     same topic. While Google only focuses on the broadest subject headings of Plaintiffs’
 7
     disclosure, it wholly ignores the full scope of the disclosure, which, in some cases, specifies
 8
     down to the level of subsections of the experts’ reports the subjects on which those experts will
 9
     and will not testify. The disclosure also reveals that certain experts, e.g., Saul Solomon, will not
10
     testify in the jury trial at all.
11
              This case is complex: It involves four plaintiff groups, multiple relevant markets,
12
     multiple related conducts and multiple types of harms, causing multiple types of injuries and
13
     damages. Plaintiffs’ disclosure nevertheless proposed to eliminate whole swaths of expert
14
     opinions, totaling hundreds of pages of analysis and reflecting months of work and investment.
15
              After serving the disclosure, Plaintiffs offered in writing and on three separate calls to
16
     give Google any additional information it needed to determine “which, if any, of the experts
17
     Google will attempt to exclude from trial.” Google never requested, and to this day has not
18
     requested, any such information. Google then filed its Daubert motions, which were limited to
19
     damages issues. MDL Dkts. 484, 487. Google’s own actions show that Plaintiffs complied with
20
     the Court’s order. As Google was obviously able to determine “which, if any, of the experts
21
     Google will attempt to exclude from trial,” MDL Dkt. 440 at 2, Plaintiffs’ disclosure plainly
22
     complied with, and satisfied the purpose of, the Court’s minute orders.
23
              Google’s position now appears to be that Plaintiffs can have only one expert for each of
24
     the four broadest possible topics of its own creation, namely, “(1) market definition, (2) market
25
     and/or monopoly power, (3) competitive effects, and (4) security and technical issues.” Google’s
26
     proposal is unworkable and substantively prejudicial: For each of the four topics, Google
27

28                                                             12
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 1
     requests that all but one Plaintiff group forfeit their experts’ entire analysis with respect to that
 2
     topic, without regard to unique sub-analyses or reliance on different facts or data. If Google’s
 3
     position were accepted, Plaintiffs would lose the benefit of significant, non-duplicative analysis. 4
 4
     Plaintiffs have developed their trial plan to date with their expert disclosure’s limitations. To
 5
     disrupt Plaintiffs’ collective trial preparation and further limit their experts’ proposed testimony
 6
     would be unfair and prejudicial—particularly where Google has had Plaintiffs’ experts’ initial
 7
     reports since October 2022, examined those experts at deposition, addressed those experts’
 8
     analysis in Google’s own experts’ reports and otherwise has everything it needs to examine the
 9
     experts at trial.
10
                 Furthermore, while seeking to limit Plaintiffs, Google reserves the right to do as it pleases
11
     with respect to its own experts. Google has disclosed seven experts, including three economists,
12
     each of whom have substantial, overlapping analysis that spans over 2,000 pages of reports, and
13
     two technology experts, whose reports span several hundred pages. For example, Google
14
     effectively concedes that both Drs. Gentzkow’s and Tucker’s reports provide overlapping
15
     analyses on alleged alternative distribution channels to Google Play, such as web apps,
16
     streaming, other Android app stores and peer-to-peer transfer. Further, Google does not dispute
17
     that each of Google’s experts opines that Google’s conduct has increased output and enhanced
18
     Android’s quality; and each expert opines about Google’s take rate and provides duplicative
19
     analyses in support of their position that the rate is not supracompetitive. Google’s experts could
20
     not possibly testify to these thousands of pages of opinions at trial without duplication of the
21
     broad topics of market definition, market power and competitive effects. Yet Google has refused
22
     to provide any clarification or guidance as to which of its opinions Plaintiffs should prepare to
23

24
     4
       Further, while all Plaintiff groups expect to be at trial with the experts they disclosed to Google, there are
25   circumstances that, at least theoretically, could change these plans (e.g., a settlement, a pending Daubert motion,
     etc.). Google’s position fails to address these possibilities, which could substantially adversely affect the remaining
26   Plaintiffs’ cases. For example, if Plaintiffs decide to rely entirely on one expert per each broad topic that Google
     identifies, it is not clear what would happen if the party that retained a chosen expert is no longer in the case come
27   trial. Aside from the expert’s availability, it would raise a host of issues around the permissible scope of the expert’s
     examination.
28                                                                13
                                JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1
     meet, and which they should not. Ultimately, both sides have a limited time to present their
 2
     cases, and both sides have every incentive to present the most streamlined, efficient and
 3
     persuasive case they can. Plaintiffs (like Google) have no reason to present unnecessary
 4
     duplication to the jury and do not intend to do so.
 5
               Finally, Google accuses Plaintiffs of gamesmanship. To the contrary, Google let this
 6
     issue lie for months because Google was requesting two trials—one with states and consumers,
 7
     and one with Epic and Match. Google’s draft of this filing is the first Google has said of wanting
 8
     a single trial. Far from “stonewalling” Google, Plaintiffs have already given Google a
 9
     substantial narrowing of expert testimony that served the purpose of enabling Google to file
10
     motions to exclude. Google now simply seeks an opportunistic and unfair litigation advantage
11
     by mischaracterizing the terms and ignoring the intent of this Court’s orders.
12
               The Court should therefore deny Google’s request for a further narrowed disclosure,
13
     which would place needless restrictions on Plaintiffs’ expert testimony and deny them the ability
14
     to fully litigate their claims.
15
        VII.           Deposition of Third-Party Riot Games
16
               Google requests that the Court order that Riot’s deposition take place no later than
17
     September 29, 2023, as described in detail below.
18
               Google’s Position: Contrary to Epic’s assertion, at no point has Google improperly tried
19
     to prevent Epic from obtaining document discovery from third-party Riot Games, Inc. (“Riot”)
20
     before Riot’s deposition goes forward. In fact, any delay in Epic’s ability to obtain documents
21
     from Riot is a problem of Epic’s own creation. As described below, Google has been more than
22
     accommodating in allowing Epic sufficient time to negotiate with Riot regarding the documents
23
     Epic seeks. It is Epic that is impeding Google’s ability to take a deposition, for which notice was
24
     served nearly five months ago, to test Epic’s own allegations, in what appears to be an attempt to
25
     “run out the clock” before trial.
26

27

28                                                             14
                             JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1
                 Nearly two years after the original complaints were filed in this litigation, Epic and
 2
     Match amended their complaints to add allegations that Google and third-party Riot Games, Inc.
 3
     (“Riot”) entered into some agreement not to compete. Google contests these claims, and plainly
 4
     has the right to obtain discovery from Riot about Epic’s allegation that it entered into a
 5
     conspiracy with Google. Prior to raising these amended allegations, Epic and Match did not seek
 6
     any discovery from Riot. Instead, Epic and Match’s amended complaints with these new
 7
     allegations were filed as of November 17, 2022 (see MDL ECF Nos. 378 and 380), and the Court
 8
     extended the prior deposition cut-off to March 31, 2023, to allow the parties to seek testimony
 9
     regarding these new allegations. See MDL ECF No. 447.
10
                 Pursuant to the Court’s order extending deposition discovery, Google timely served its
11
     deposition subpoena on Riot on March 22, 2023 and noticed the deposition for March 29, 2023.
12
     Google seeks to depose Riot regarding this alleged conspiracy, or rather, the absence of any such
13
     conspiracy. At no point between November 17, 2022 (when the amended complaints were filed)
14
     and March 31, 2023 (the extended deposition cut-off) did Epic or Match seek to take any
15
     discovery from Riot. Instead, it was only after Google issued its deposition subpoena to Riot—
16
     and after the deadline for third-party discovery passed—did Epic attempt to seek any discovery
17
     from Riot. Now, Epic continues to obstruct Google’s efforts to depose a Riot witness about
18
     these late-added allegations, using their untimely filed document subpoena as an excuse for
19
     doing so. First, in response to Google’s deposition notice served on March 22, 2023, Epic
20
     responded that plaintiffs’ counsel were “unavailable” on the originally noticed date of March 29,
21
     and requested that the deposition be rescheduled. Epic did not mention that it planned to serve
22
     any discovery of its own on Riot. The parties agreed that the deposition of Riot would take place
23
     after the March 31 discovery cut-off due to Epic’s scheduling conflicts, as the Court’s order
24
     permitted.5 Google promptly proposed rescheduling the Riot deposition on April 26 or April 28.
25
     Rather than accept those dates, on April 12, Plaintiffs served a document subpoena on Riot. This
26
     5
27    See MDL No. 447 (setting March 31, 2023 as the deadline to “complete third-party depositions re: Epic’s and
     Match’s amended complaints,” “except as parties may agree otherwise for particular depositions.”).
28                                                         15
                                JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1
     was two weeks after the March 31 deadline set by the Court for deposition discovery regarding
 2
     Epic and Match’s new allegations regarding Riot, and furthermore that deadline did not
 3
     contemplate extending any document discovery deadlines. After serving the belated document
 4
     subpoena on Riot, Epic suggested that the parties agree to identify a date in May for the
 5
     deposition to allow Riot time to respond to Plaintiffs’ document subpoena. In good faith, Google
 6
     agreed to do so and proposed scheduling the deposition on May 4 or May 10. In an abrupt
 7
     about-face, instead of agreeing to proceed with Riot’s deposition in May, as Epic itself had
 8
     suggested, Epic then insisted that the parties should resume coordinating scheduling the
 9
     deposition later while Epic and Riot met and conferred regarding Riot’s response to their
10
     document subpoena. Again, Google agreed to do so in good faith.
11
             Riot produced documents in response to Plaintiffs’ document subpoena on July 13. Since
12
     then, Google has proposed eight dates to schedule Riot’s deposition. Epic, however, has not
13
     agreed to any of these dates, each time claiming that Riot’s document production is deficient and
14
     that they are continuing to meet and confer with Riot to address those purported issues. Google,
15
     however, has been prepared to proceed with the deposition since March. In fact, Google most
16
     recently noticed Riot deposition for September 1, 2023. On August 28, mere days before the
17
     deposition was to proceed, Epic informed Google that the deposition could not move forward
18
     because they had reached an “impasse” with Riot, and planned to “move promptly to compel
19
     Riot’s compliance” with its subpoena. To date, no such motion has been filed, nor has Epic
20
     provided a date certain by when they intend to file their motion to compel or move forward with
21
     a deposition.
22
             Epic has had more than sufficient time to meet and confer with Riot regarding its
23
     document production and to file a motion to compel against Riot, if necessary. Instead, Epic
24
     continues to frustrate Google’s ability to schedule this deposition to test the very claims that Epic
25
     belatedly added to their complaints. The parties are on the eve of trial, yet Epic refuses to allow
26
     Riot’s deposition to go forward under the guise of the ongoing document negotiations with Riot,
27

28                                                            16
                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1
     documents that Epic never sought to obtain until after Google issued its deposition subpoena.
 2
     This continued delay is prejudicial to Google; accordingly, Google respectfully requests that the
 3
     Court order the following:
 4
            An order that the deposition of Riot’s witness must take place no later than September 29,
 5
             2023, and that Plaintiffs cannot object to the use of such deposition testimony by Google
 6
             at trial on the basis of FRCP 32(a)(1)(A).
 7
            To the extent that Plaintiffs file a motion to compel against Riot, but have not received a
 8
             ruling regarding that motion or Riot has not completed any production in response to
 9
             such a ruling by the date the deposition is to take place, the parties are ordered to proceed
10
             with the deposition no later than September 29, 2023. If Plaintiffs subsequently receive
11
             additional documents from Riot in response to any successful motion to compel, the
12
             parties will be permitted to take a further deposition of Riot’s witness that is limited in
13
             scope to the documents that were produced as a result of such motion.
14
            Plaintiffs may not object to Google calling a Riot witness to testify live at trial or the
15
             designation of Riot’s deposition testimony at trial on the basis of timeliness.
16
             Finally, Epic repeatedly notes that Munger, Tolles & Olson LLP (“MTO”) also represents
17
     Riot. But there is nothing improper about this, and Epic cannot show otherwise. In fact, as Epic
18
     knows from communications dating back to 2020 with the specific MTO lawyers representing
19
     Riot, MTO’s representation of Riot long predates MTO’s appearance in this case—with a
20
     different team of non-overlapping lawyers. Moreover, Google’s other counsel in this litigation,
21
     Morgan, Lewis & Bockius LLP, to this day continues to handle discovery with respect to Riot.
22
             Epic’s Position: For months, Google has tried to gain an improper tactical advantage by
23
     forcing Epic to take the deposition of Riot without first obtaining basic document discovery from
24
     Riot—a party to whom Google has paid millions of dollars (pursuant to an agreement Plaintiffs
25
     allege was per se illegal) and that is represented by Munger, Tolles & Olson LLP (“Munger”),
26
     Google’s own lead counsel in this case. Epic has worked diligently to obtain Riot’s compliance
27

28                                                            17
                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1
     with a narrowly tailored document subpoena. Despite months of negotiations, Epic still has not
 2
     received a meaningful production of documents responsive to its subpoena. Nearing an impasse,
 3
     Epic is prepared to diligently move to compel Riot’s compliance with its disclosure obligations
 4
     so that Epic can adequately prepare for the deposition. But Epic cannot agree to arbitrary
 5
     deadlines when the timing of any production would depend on an order from another court 6 and
 6
     on Riot’s compliance therewith. The Court should reject Google’s unreasonable demands to
 7
     force Epic to depose Riot before Epic receives the discovery to which it is entitled.
 8
                 When Epic moved to amend its complaint in November 2022 to add per se claims related
 9
     to Google’s Project Hug agreements, Google argued to the Court that permitting Epic to amend
10
     would “wreck [the] schedule and jeopardize court deadlines” because Google would need to
11
     obtain “documents and depositions from third parties to show why [Epic’s per se] claims are
12
     baseless.” MDL Dkt. 355 at 11. But after the Court granted Epic leave to amend and extended
13
     the discovery cut-off to address Google’s concern about being prejudiced, Google failed to take
14
     any third-party discovery for months. On March 22, 2023, just nine days before the close of fact
15
     discovery, Google served a deposition notice on Riot’s Chief Financial Officer, Mr. Mark
16
     Sottosanti, which set the deposition for just one week later, on March 29, 2023 Before that
17
     point, Google had made no indication to Plaintiffs that it intended to depose any Riot witness;
18
     Google had not, for example, served a document subpoena on Riot or informed Plaintiffs that it
19
     was in communication with Riot regarding Mr. Sottosanti’s availability for a deposition. Instead,
20
     at the eleventh-hour, Google attempted to give Plaintiffs less than a week to prepare for
21
     Mr. Sottosanti’s deposition. With little time to prepare and no Riot documents about which to
22
     question Mr. Sottosanti, Epic requested to reschedule Mr. Sottosanti’s deposition for a later date,
23
     after the March 31, 2023 fact discovery deadline, to allow Epic to subpoena and obtain document
24
     discovery from Riot. Google agreed.7
25
     6
26    Riot, a Los Angeles-based company, is within the Central District of California’s jurisdiction.
     7
      Until now, Google has not objected to Epic’s subpoena. In fact, on April 21, 2023, shortly after Epic served its
27   subpoena, Google proposed a meet and confer “to discuss the appropriate allocation of deposition time once Riot

28                                                                18
                                JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1
              Epic served a document subpoena on Riot on April 12, 2023. With respect to that
 2
     subpoena, Riot has been represented exclusively by Munger. Since April, Epic has faced
 3
     aggressive opposition from Riot that has, to this day, deprived Epic of relevant documents
 4
     needed to meaningfully depose Riot. Indeed, Riot did not even agree to produce any documents
 5
     until two months after the subpoena was served, on June 14, 2023.
 6
              Nearly a month after that, after having agreed to conduct a reasonable search for
 7
     documents concerning a multi-million dollar deal it had struck with Google, Riot produced just
 8
     five unique documents, only one of which was an internal Riot document relating to the deal
 9
     (from the day Riot signed its Project Hug agreement with Google). To assess the adequacy of
10
     Riot’s search, Epic requested the search terms that Riot had used, which turned out to be plainly
11
     insufficient. Epic proposed a modest, narrow set of more sensible search terms, which returned a
12
     universe of 80,000 potentially relevant documents. Riot (via Munger) has refused to review or
13
     produce these documents unless and until Epic agrees to cover Riot’s costs, which Riot estimates
14
     will be between $100,000 and $125,000. Riot also took the position that Epic should first take
15
     the deposition of Mr. Sottosani and only then seek additional documents from Riot. Epic
16
     rejected both demands, but in a last attempt at resolution has agreed to substantially narrow the
17
     search terms it proposed; Epic’s most recent proposal hit on only 16,500 documents.
18
              Contrary to Google’s assertion that Epic has refused to agree to any of the deposition
19
     dates Google has proposed, Epic agreed to take Mr. Sottosanti’s deposition on September 1,
20
     2023, contingent on Riot curing its production deficiences before then. When it became clear
21
     that Riot would not produce documents ahead of the then-scheduled September 1 deposition,
22
     Epic informed Google that the deposition could not go forward, which is the same position Epic
23
     has repeatedly taken. Google suggests that Epic should proceed to depose Riot on September 29,
24

25
     has completed its document production.” Apr. 21, 2023 Email from R. Satia to Plaintiffs (emphasis added).
26   Despite its failure to object then and its prior representations to the Court that it needed more time to obtain
     “documents” in response to Epic’s amended complaint, Google now contends that the March 31, 2023 deadline for
27   third-party depositions “did not extend document discovery deadlines”. This belated argument is untenable and
     should be rejected.
28                                                                19
                             JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1
     2023 even if Riot has not produced documents by then because Epic could then try to re-open the
 2
     deposition if it “subsequently receive[s] additional documents from Riot.” This would be
 3
     inefficient and burdensome on both Riot and the parties. Further, Google does not represent that
 4
     Riot would agree to reopen the deposition and given Riot’s reluctance to cooperate with Epic
 5
     thus far, Epic has no basis to expect Riot would agree to a second deposition.
 6
               Epic hopes to reach an agreement with Riot in the coming days. If not, Epic will have no
 7
     choice but to move to compel Riot’s compliance, which Epic intends to do promptly. Epic
 8
     respectfully requests that the Court reject Google’s unreasonable demands to force an arbitrary
 9
     deposition deadline that may deny Epic the information to which it is entitled—information Epic
10
     has sought for months, that Riot (through Munger) has resisted producing for months, and that is
11
     necessary to adequately depose Riot.
12
       VIII.          Chats Remedy
13
               Plaintiffs’ Position: Following the Chats hearing in January 2023, the Court found that
14
     “sanctions are warranted” (MDL Dkt. 469 at 1) and that “[t]he remaining question is about the
15
     remedy” (id. at 18-19). During the August 3, 2023 hearing, the Court instructed the Parties to
16
     propose a process to help the Court determine the appropriate remedy related to Google’s
17
     destruction of Google Chats. (Aug. 3, 2023 Hr’g Tr. 70:13-71:2.)
18
               Google asks the Court to defer deciding a remedy until all evidence is presented at trial,
19
     at which point the Court would determine the “effect any lost chats may have on Plaintiffs’
20
     ability to prove their case.” In other words, Google envisions a world in which it can destroy
21
     evidence with impunity, the jury is kept in the dark about Google’s fully-adjudicated intentional
22
     destruction of documents at least for the duration of trial, and Plaintiffs are given a Hobbesian
23
     choice: either they put on a strong case, in which case they lose the right to an instruction—or
24
     they prove to the jury that their case is weak (or at least severely weakened), by pointing to
25
     evidence they know nothing about and could know nothing about because Google intentionally
26
     destroyed it. That is not the law, nor should it be. The proportionality of a sanction should not
27

28                                                            20
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 1
     be based on how well Plaintiffs overcome Google’s misconduct; it should be based on the
 2
     egregious conduct in which Google engaged. The Court has previously noted “plaintiffs’
 3
     dilemma of trying to prove the contents of what Google has deleted.” (MDL Dkt. 429 at 19.)
 4
     This led the Court to defer its decision on the appropriate remedy until the end of fact discovery.
 5
     There is no reason to now defer it further, let alone to hide from the jury the Court’s findings
 6
     concerning Google’s misconduct.
 7
                 Further, if accepted, Google’s position would prejudice Plaintiffs. The Court has already
 8
     “obtained a thorough and highly detailed record with respect to Google’s Chat preservation
 9
     conduct,” which is supported by “substantial briefing by both sides,” “including the filing of
10
     declarations and other written evidence,” and “an evidentiary hearing that featured witness
11
     testimony and other evidence.” (MDL Dkt. 469 at 1, 2, 3.) This evidence makes clear that
12
     “Google intended to subvert the discovery process, and that Chat evidence was ‘lost with the
13
     intent to prevent its use in litigation’ and ‘with the intent to deprive another party of the
14
     information’s use in the litigation.’” (Id. at 18 (quoting Comm. Notes, Subdivision (e)(2)).
15
     Indeed, the Court concluded that “intentionality manifested at every level within Google to hide
16
     the ball with respect to Chat.” (Id. at 17.) Nevertheless, Google seeks to make Plaintiffs use
17
     their valuable, limited trial time—and the time of the Court and the jury—to re-prove facts the
18
     Court already found.8 This would be severely prejudicial to Plaintiffs, who have been preparing
19
     for trial under the assumption that their time will primarily be used to prove the anticompetitive
20
     harm at issue in this case (and that they will not be required to re-litigate an adjudicated issue).
21
     Further, waiting until the end of trial to decide the appropriate remedy would deprive Plaintiffs
22
     of part of the remedy they seek: a preliminary jury instruction at the outset of trial that explains
23
     that certain internal Google Chats were deleted and therefore cannot be presented at trial.
24

25

26
     8
       Google claims Plaintiffs would not have to re-prove facts and would instead have to “highlight any gaps in the
27   record that they believe are prejudicial.” As the Court “fully appreciates” (MDL Dkt. 469 at 19), this places an
     undue burden on Plaintiffs, who would need to figure out precisely what Google destroyed—an impossible task.
28                                                             21
                                JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1
             Moreover, Google has not identified any prejudice it would suffer if the remedy were
 2
     decided before trial. Rather than “defer any briefing on the issue,” as Google requests, Plaintiffs
 3
     propose the following pretrial briefing schedule to advise the Court on the appropriate remedy,
 4
     which will allow the Court to hear argument at the October 19, 2023 conference, if needed, and
 5
     craft the appropriate remedy before trial. This proposal is consistent with the Court’s suggestion
 6
     that once fact discovery is complete—not once trial is complete—“plaintiffs will be better
 7
     positioned to tell the Court what might have been lost in the Chat communications.” (Id. at 19.)
 8

 9
                     Event                               Date                  Page Limit
10
                     Plaintiffs’ Opening Brief           September 21          25 pages
11
                     Google’s Opposition Brief           October 5             25 pages
12
                     Plaintiffs’ Reply Brief             October 12            15 pages
13
             Google’s Position: The Court should decide the appropriate remedy related to chats
14

15   after hearing the evidence presented by the parties at trial, as is customary for jury instructions

16   concerning the jury’s consideration of particular categories of evidence. As the Court noted in
17   its Order, “[p]roportionality is the governing concept here,” Dkt. 469, at 18, and the parties will
18
     be better positioned to assess proportionality at the close of the evidence. The Court recognized
19
     that the Advisory Committee Notes to Rule 37 “advise courts to ‘exercise caution,’” and that
20
     “‘severe measures,’” such as jury instructions, “‘should not be used when the information lost
21

22   was relatively unimportant or lesser measures…would be sufficient to redress the loss.’” Id. at

23   18-19 (quoting Comm. Notes, Subdivision (e)(2)). The parties will be best positioned to brief

24   the Court on how these principles should apply in this case once the evidence has been presented
25   at trial. The Court should defer any briefing on the issue until that time.
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 1           Contrary to Plaintiffs’ contention, Google is not proposing that Plaintiffs be required to
 2   “re-prove facts the Court already found” (emphasis in original). The issue here is not Plaintiffs’
 3
     quantum of proof. The issue is ensuring that the Court’s factual findings are assessed in the
 4
     context of the entire case so that any remedy is proportional to whatever effect any lost chats
 5
     may have on Plaintiffs’ ability to prove their case using the voluminous information otherwise
 6

 7   available to them. The parties and the Court will be better prepared to evaluate that issue after

 8   Plaintiffs have put on their proof. Plaintiffs will have ample opportunity to put on their best case

 9   based on the enormous record they do have, and highlight any gaps in the record that they
10   believe are prejudicial. Plaintiffs’ suggestion that the Court should instruct the jury on this issue
11
     “at the outset of trial” before the jury has heard or been instructed on any other evidence in the
12
     case is wholly disproportionate and risks an outcome this Court already determined is improper–
13
     having this antitrust case “decided on the basis of lost Chat communications.” Order at 19. The
14

15   Court will be better placed to guard against that risk by considering the proper remedy at the

16   close of the evidence.

17
     Dated: September 5, 2023                             BARTLIT BECK LLP
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                                                           Karma M. Giulianelli
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                                                          KAPLAN FOX & KILSHEIMER LLP
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              Case 3:20-cv-05761-JD Document 453 Filed 09/05/23 Page 24 of 26



 1                                                                  Respectfully submitted,
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                            JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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 1   Dated: September 5, 2023                             HUESTON HENNIGAN LLP
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 1
                                             E-FILING ATTESTATION
 2
              I, Michelle Park Chiu, am the ECF User whose ID and password are being used to file
 3
     this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the
 4
     signatories identified above has concurred in this filing.
 5

 6                                                                     s/ Michelle Park Chiu
                                                                        Michelle Park Chiu
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                             JOINT STATEMENT REGARDING SEPTEMBER 7, 2023 PRE-TRIAL CONFERENCE
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